        Case 8-20-08049-ast          Doc 148       Filed 08/08/24        Entered 08/08/24 14:49:43




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK


                                       :
    In re:                             :                               Chapter 11
                                       :
 ORION HEALTHCORP, INC.1               :                               Case No. 18-71748 (AST)
                                       :
                           Debtors.    :                               (Jointly Administered)
                                       :
                                       :
HOWARD M. EHRENBERG IN HIS CAPACITY AS :                               Adv. Pro. No. 20-08049 (AST)
LIQUIDATING TRUSTEE OF ORION           :
HEALTHCORP, INC., ET AL.,              :                               Trial: July 24, 2024
                                       :                               Time: 9:30 a.m.
                                                                       Place: Courtroom 960
                           Plaintiff,  :                                      U.S. Bankruptcy Court
                                       :                                      290 Federal Plaza
                           v.          :                                      Islip, NY
                                       :
ARVIND WALIA; NIKNIM MANAGEMENT, INC., :                               PTC: July 17, 2024
                                       :                               Time: 1:30 p.m.
                           Defendants. :
                                                                       Judge: Hon. Alan S. Trust
                                       :
                                       :
                                       :


  NOTICE OF ERRATA AND LODGING OF CORRECTED EXHIBIT A TO TRIAL
BRIEF OF PLAINTIFF, HOWARD M. EHRENBERG AS LIQUIDATING TRUSTEE OF
                      ORION HEALTHCORP, INC.

                    PLEASE TAKE NOTICE that, in connection with the trial in the above-captioned

adversary proceeding, Plaintiff Howard M. Ehrenberg, in his capacity as Liquidating Trustee of

Orion Healthcorp., Inc. (“Plaintiff”) hereby files this Notice of Errata and lodges a true and


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Orion Healthcorp, Inc. (7246); Constellation Healthcare Technologies, Inc. (0135); NEMS Acquisition,
LLC (7378); Northeast Medical Solutions, LLC (2703); NEMS West Virginia, LLC (unknown); Physicians Practice
Plus Holdings, LLC (6100); Physicians Practice Plus, LLC (4122); Medical Billing Services, Inc. (2971); Rand
Medical Billing, Inc. (7887); RMI Physician Services Corporation (7239); Western Skies Practice Management, Inc.
(1904); Integrated Physician Solutions, Inc. (0543); NYNM Acquisition, LLC (unknown) Northstar FHA, LLC
(unknown); Northstar First Health, LLC (unknown); Vachette Business Services, Ltd. (4672); Phoenix Health, LLC
(0856); MDRX Medical Billing, LLC (5410); VEGA Medical Professionals, LLC (1055); Allegiance Consulting
Associates, LLC (7291); Allegiance Billing & Consulting, LLC (7141); New York Network Management, LLC
(7168). The corporate headquarters and the mailing address for the Debtors listed above is 1715 Route 35 North,
Suite 303, Middletown, NJ 07748.

4883-8270-4086.1 65004.003                              2
       Case 8-20-08049-ast      Doc 148    Filed 08/08/24     Entered 08/08/24 14:49:43




complete copy of the Ruling Conference transcript for the hearing dated April 10, 2024, in the

above referenced adversary which includes adversary no. 20-08052(AST) (as the matters were

called together on calendar).



 Dated: August 8, 2024                     Respectfully submitted,
                                           PACHULSKI STANG ZIEHL & JONES LLP


                                           /s/ Jeffrey P. Nolan
                                           Ilan D. Scharf, Esq.
                                           Jeffrey P. Nolan, Esq. (admitted pro hac vice)
                                           PACHULSKI STANG ZIEHL & JONES LLP
                                           780 Third Avenue, 34th Floor
                                           New York, New York 10017
                                           Telephone:      (212) 561-7700
                                           Facsimile:      (212) 561-7777

                                           Counsel for Plaintiff, the Liquidating Trustee




4883-8270-4086.1 65004.003                      3
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43




                      EXHIBIT A
Case 8-20-08049-ast    Doc 148          Filed 08/08/24              Entered 08/08/24 14:49:43



                                                                                                             Page 1

   1      UNITED STATES BANKRUPTCY COURT

   2      EASTERN DISTRICT OF NEW YORK

   3      Case No. 18-71748-ast

   4                                        -   -   -   -   -   -    -   -   -   -   -   -   -   -   -   -   - X


   5      In the Matter of:

   6      ORION HEALTHCORP, INC., et al.,

   7                  Debtor.

   8                                -   -   -   -   -   -   -   -    -   -   -   -   -   -   -   -   -   -   - X


   9      Adv. Case No. 20-08049-ast

  10                                                                                                     -   - X


  11      HOWARD M. EHRENBERG, in his capacity as liquidating trustee

  12      of Orion HealthCorp, Inc., et al.,

  13                           Plaintiffs,

  14                  v.

  15      ARVIND WALIA; NIKNIM MANAGEMENT, INC.,

  16                           Defendants.

  17                       -    -   -   -   -   -   -   -   -   -   -    -   -   -   -   -   -   -   -   -   -   X



  18      Adv. Case No. 8-20-08052-ast

  19                                                                     -   -   -   -   -   -   -   -   -   - X


  20      HOWARD M. EHRENBERG in his capacity as LIQUIDATING TRUSTEE

  21      OF ORION HEALTHCORP, INC., et al.,

 22                            Plaintiffs,

  23                  v.

  24 I    ABRUZZI INVESTMENTS, LLC,

  25 I                         Defendants.

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Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
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Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
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Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
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Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
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Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
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Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
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Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
Case 8-20-08049-ast   Doc 148   Filed 08/08/24   Entered 08/08/24 14:49:43
       Case 8-20-08049-ast         Doc 148   Filed 08/08/24    Entered 08/08/24 14:49:43




                             CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing document has been

served via U.S. Mail and the Court’s Electronic Filing System to:

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 Paris Gyparakis, Esq.                              The Law Office of Eugene R. Scheiman
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 Attorneys for Defendants Arvind Walia and          Niknim Management Inc.
 Niknim Management Inc.




                                                      /s/ Rolanda Mori
                                                      Rolanda Mori




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